                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

                                                       )
CONSUMER FINANCIAL PROTECTION                          )
BUREAU,                                                )
                                                       )
         Plaintiff,                                    )   C.A. No. 17-1323-RGA
                                                       )
v.                                                     )
                                                       )
THE NATIONAL COLLEGIATE MASTER                         )
STUDENT LOAN TRUST, et al.,                            )
                                                       )
         Defendants.                                   )
                                                       )

                        NOTICE OF SUPPLEMENTAL AUTHORITY

         Pursuant to D. Del. L.R. 7.1.2(b), Defendant Trusts1 respectfully submit to the Court an

Order entered by Vice Chancellor Joseph R. Slights, III, in National Collegiate Student Loan

Master Trust, et al. v. Pennsylvania Higher Education Assistance Agency d/b/a American

Educational Services, C.A. No. 12111-VCS (Del. Ch.) (the “Delaware Chancery Action”),

attached hereto as Exhibit A. The Order in the Delaware Chancery Action contains the

following findings:

                  1.    The beneficial interests in The National Collegiate Master Student Loan

         Trust are owned by NC Residuals Owners Trust and SL Resid Holdings LLC;

                  2.    The beneficial interests in The National Collegiate Student Loan Trust

         2003-1 are owned by NC Residuals Owners Trust, NC Owners LLC, and Pathmark

         Associates, LLC; and



1
 “Trusts” refers collectively to Defendants National Collegiate Master Student Loan Trust and National
Collegiate Student Loan Trusts 2003-1, 2004-1, 2004-2, 2005-1, 2005-2, 2005-3, 2006-1, 2006-2, 2006-3,
2006-4, 2007-1, 2007-2, 2007-3, 2007-4.




ME1 26236349v.1
                  3.       The beneficial interests in The National Collegiate Student Loan Trust

         2004-1, The National Collegiate Student Loan Trust 2004-2, The National Collegiate

         Student Loan Trust 2005-1, The National Collegiate Student Loan Trust 2005-2, The

         National Collegiate Student Loan Trust 2005-3, The National Collegiate Student Loan

         Trust 2006-1, The National Collegiate Student Loan Trust 2006-2, The National

         Collegiate Student Loan Trust 2006-3, The National Collegiate Student Loan Trust 2006-

         4, The National Collegiate Student Loan Trust 2007-1, The National Collegiate Student

         Loan Trust 2007-2, The National Collegiate Student Loan Trust 2007-3, and The

         National Collegiate Student Loan Trust 2007-4 are owned by NC Owners LLC and

         Pathmark Associates, LLC.

         The Order is relevant to the issues currently before this Court because Proposed

Intervenor Wilmington Trust Company informed the Court that on July 5, 2017, it refused to

execute a consent order proposed by the Consumer Financial Protection Bureau in part because

of the “Ownership Dispute” raised in the Delaware Chancery Action. (D.I. 31 ¶ 3.) That dispute

has now been resolved, with the Owners who directed Wilmington Trust Company to execute

the consent decree recognized in the Delaware Chancery Action as the Owners of the beneficial

interests of the Trusts.



Dated: December 6, 2017                               McCARTER & ENGLISH, LLP

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ME1 26236349v.1
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ME1 26236349v.1
